Case 3:22-cv-01213-TAD-KDM Document 296 Filed 07/05/23 Page 1 of 1 PageID #: 26955




                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA


    The State of Missouri, et al.,

           Plaintiffs,

                   v.

    President Joseph R. Biden, Jr., in his                     Civil Action No. 22-cv-1213
    official capacity as President of the United
    States of America, et al.,

           Defendants.


                                        NOTICE OF APPEAL

          Pursuant to Federal Rule of Appellate Procedure 3(a), all Defendants hereby appeal, to the

   U.S. Court of Appeals for the Fifth Circuit, the Court’s July 4, 2023 Preliminary Injunction Order,

   ECF No. 294.


   Dated: July 5, 2023                 Respectfully submitted,

                                       BRIAN M. BOYNTON
                                       Principal Deputy Assistant Attorney General

                                       JOSHUA GARDNER
                                       Special Counsel, Federal Programs Branch

                                       /s/ Amanda Chuzi_
                                       KYLA SNOW (OH Bar No. 96662)
                                       INDRANEEL SUR (D.C. Bar No. 978017)
                                       KUNTAL CHOLERA (D.C. Bar No. 1031523)
                                       AMANDA CHUZI (D.C. Bar No. 1738545)
                                       Trial Attorneys
                                       U.S. Department of Justice
                                       Civil Division, Federal Programs Branch
                                       1100 L. Street, NW
                                       Washington D.C. 20005
                                       Amanda.k.chuzi@usdoj.gov

                                       Attorneys for Defendants
